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Ordell Elizabeth Moon
1905 Bristol St.
Petaluma, CA 94954




                         UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF CALIFORNIA


In re                                              Case No. 5:23-cv-04521-PCP
ORDELL ELIZABETH MOON
                                                   BK Case No. 23-10092 DM 13
Appellant/Debtor,                                  NOTICE OF MOTION AND MOTION IN
                                                   INDIVIDUAL CASE FOR ORDER TO
                                                   CONTINUE THE AUTOMATIC STAY
vs.                                                IN BK CASE #23-10092 DM 13 AS THE
                                                   COURT DEEMS APPROPRIATE

CITIBANK N.A., DEUTSCHE BANK                       Date:
NATIONAL TRUST et al.                              Time:
                                                   Courtroom:
Appellees.
__________________________________/

TO THE HONORABLE JUDGE AND ALL PARTIES OF INTEREST:

COMES NOW the Appellant/Debtor, Ordell Elizabeth Moon, through her Authorized
Representative, Don Shannon (hereinafter “AR”), who relies upon Haines v. Kerner,
1972, 404 U.S. 519 in the above-captioned matter, to give notice that Appellant,
pursuant to Haines v. Kerner, hereby serves this courtesy notice and state:

1.     NOTICE IS HEREBY GIVEN to (Secured Creditor/Lessor),trustee (if any), and
affected creditors (Responding Parties), their attorneys (if any), and other interested
parties that have appeared in the matter of Bankruptcy Case #23-10092 DM 13 that on
the above date and time and in the United States District Court for the Northern District
of California, pursuant to Bankruptcy Rule 8007 (b) Appellant/Debtor (hereinafter
”Appellant”) in the above-captioned matter will move this honorable court for an order
continuing the automatic stay as to certain creditors and actions described in the motion
on the grounds set forth in the attached motion.

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2.     This motion is being heard as soon as possible under the doctrine of imperative
necessity as the court can set the hearing. If you wish to oppose this motion, you must
file a written response to this motion with the court and serve a copy of it upon the
Appellant's AR at the address set forth above no less than 14 days before the above
hearing and appear at the hearing of this motion or zoom hearing if available.

3. You may be able to contact the USDC Clerk’s Office or use the court’s website to
obtain a copy of an approved court form for use in preparing your response or you may
prepare your response using the format required by FRCP Rule 10 and the Court
Manual.


4. If you fail to file a written response to the motion or fail to appear at the hearing, the
court may treat such failure as a waiver of your right to oppose the Motion and may
grant the requested relief

Dated: October 10, 2023
                                                   ________________________________
                                                   Don Shannon, Authorized
                                                   Representative for Appellant




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MOTION FOR ORDER IMPOSING A STAY OR CONTINUING THE AUTOMATIC STAY
                AS THE COURT DEEMS APPROPRIATE


        Appellant, Ordell Elizabeth Moon, through said AR, who relies upon Haines v.
Kerner, 1972, 404 U.S. 519 in the above-captioned matter, to give notice that
Appellant, pursuant to Haines v. Kerner, moves the court for an order continuing
existing stay with respect to the property located at 1905 Bristol St., Petaluma,
California, APN #136-580-029.


1.      Certain purported creditor(s) have claimed unproven security interest in this
Property and have filed such claims in the public repository of Sonoma county in
apparent violation of California Corporation Code 107, Civil Code 1478, Penal Code 648
in light of Title 12 U.S.C. 411 as detailed in Appellant’s Objections to Proof of Claims for
each purported creditors:

1. Party:                                  2. Party:

Citibank, N.A                              Deutsche Bank National Trust Company

Attorney: Nathan F. Smith                  Attorney: Fanny Zhang Wan

Malcolm Cisneros, A Law Corp.             Robertson, Anschutz, Schneid & Crane LLP
Attn: Nathan F. Smith                     Attn: Fanny Zhang Wan
2112 Business Center Drive, 2nd Fl,       350 10th Ave., Suite 1000
Irvine, California 92612                  San Diego, CA 92101
(949) 252-9400                            (470) 321-7112


Appellant therefore moves for an order continuing the automatic stay as to all creditors.
2.      Case History: Appellant filed a voluntary Chapter 13 petition on February 28,
2023.

        a. There are no other bankruptcy cases filed by or against this Appellant pending
        within the past year preceding the petition date in this case.
        b. As of the date of this motion the Appellant has had at least three (3) 341
        Meeting of Creditors.
3.      Appellant from the beginning challenged the lawfulness of purported creditors
proof of claims by filing Objections to said proof of claims of said creditors which

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objections were both denied by the Honorable Dennis Montali, Bankruptcy Judge who
subsequently issued an order dismissing case on August 9, 2023.

4.     Grounds for Continuing The Stay:
Pursuant to the Fifth Amendment and the Fourteenth Amendment’s guarantee to the full
due process of law, Appellant believes the right to full disclosure of all the terms and
conditions pertaining to purported creditors’ claim of right to subject property particularly
evidence of actual delivery of a thing of value to Appellant prior to or right after
Appellant executed original loan documents has been denied to Appellant by said
creditors in apparent violation of Truth In Lending Act (TILA), and Real estate
Settlement Procedure Agreement (RESPA), Regulation Z - 12 CFR § 226.17(c)(1)
among other laws enacted to protect the rights of the people from corporate greed,
extortion and other rapacious activities.

5.     The questions that Appellant seeks answers to is in what specific medium of
exchange did said creditors’ purported “loan of money” were “expressed in terms of?”
This question is germane to the issue of standing to appear in light of FRCP Rule 17. All
that each purported creditor filed in support of their proof of claim was an uncertified
copy of a promissory note or HELOC. But said creditors failed to produce the actual
date of their wire transfer, bank draft, or other medium of exchange mandated by
Corporation Code 107 proving actual delivery of a thing of value in lawful money of
the United States was loaned to Appellant (as they declare in said promissory note) as
mandated by Civil Code 1478 in light of Penal Code 648 penalty provision in light of
Title 12 U.S.C. 411 to prove their actual economic investment and commitment. Please
be advised that said creditors’ signatures are nowhere found on any of the loan
documents created by them that Appellant executed which Appellant now believes is
unethical. Said Creditors have failed to establish that they’re the real party in interest.

6.     The Honorable Judge Montali took a hostile position to Appellant’s assertion and
insistence of constitutionally secured right to full disclosure to each and every element
pertaining to said creditors’ claim of right, which Appellant believes is a denial to
Appellant’s right to the full due process of law. Honorable Judge Montali issued an
Order Dismissing Case after August 9, 2023 hearing on Appellant’s Objection to Proof

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of Claim of DEUTSCHE BANK NATIONAL TRUST. There however is no evidence filed
of record that Appellees ever delivered pursuant to CC § 1478 to Appellant a thing of
value mandated by Corp. Code § 107 prior to or after Appellant’s execution of said loan
documents to establish as fact evidence of their economic investment of thing of value.

Grounds for Continuing The Stay:
7.     The present case was filed in good faith by Appellant in pursuit of the truth
surrounding the original loan of money as the issue of medium of exchange is probative
and fundamental to the viability of any valid contract. Disclosure of all terms and
conditions governing said contract is both reasonable and requisite pursuant to the
constitutionally secured right to full due process of law, good faith and fair dealing which
are etched in the bedrock of American Jurisprudence. This is particularly so when a
sophisticated trader in mercantile executive equity is trading with a common trader at
law, typically identified in law as a “consumer.” Consumer is a term that is defined in the
consumer protection law both state and federal which pertain to John or Jane Que
Public. Appellant being a trader at law and not a trader in mercantile executive equity is
unlearned, thus unsophisticated in the sophistries of the custom of merchant
transactions in commercial paper as defined in Article 3 of the Uniform Commercial
Code which is titled Negotiable Instruments. Thus in search for the truth, Appellant has
reached out to Appellees, counsels for Appellees, even to the Honorable Judge Montali
for instructive relief regarding the issue of medium of exchange and not one in the list of
Appellees, their counsels or the court has seen fit to assist Appellant in her journey for
the truth.

8.     Attached herein and made a part of this motion are copies of communications
sent by Appellant in good faith to Appellees, counsel for Appellees and a filed copy of
Appellant’s reasonable request for instructive relief from the Court all of which have
gone unanswered or non-answered.

9.     On August 9, 2023 in hearing on Appellant’s objection to Appellee’s proof of
claim, Appellant in good faith openly stated to Appellees, counsel for Appellees and the
court the following reasonable statement regarding offer of settlement, to wit:



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          “In behalf of Debtor’s estate I State On the record and for the record the following
          statement:

          Debtor is ready to settle all matters pertaining to all purported claims after the issue of
          the specific medium of exchange of each purported loan is expressed in terms of has
          been provided by alleged creditor or creditor's counsel pursuant to the Constitution’s 14th
          Amendment’s guarantee of equal protection under laws of consideration, currency and
          tender has been provided as detailed in last filings filed of record with the court.

          Please be advised that Once the specific medium of exchange is disclosed the Debtor
          will issue a tender in like kind to settle all claims consistent with current federal public
          policy as a matter of law.

          Beyond the foregoing statement I stand on the pleadings filed of record & beyond that I
          stand mute with all due respect.

          Thank you, your honor.”

10.       The court subsequently issued an ORDER DISMISSING CASE on August 9,
2023 upon completion of the hearing in spite of Appellant’s offer of settlement.
Appellant believes such action by the court was unwarranted as a matter of law.

11.       On August 31, 2023 Appellant initially filed a motion to continue automatic stay in
bankruptcy court but on September 5, 2023 Judge Montali denied such request citing
he had no jurisdiction to grant such an order in spite of Bankruptcy Rule 8007(a) which
necessitated the filing of this instant motion pursuant to BK Rule 8007(b) (2)(B). A copy
of the bankruptcy order denying request for stay is attached and incorporated herein as
fully reproduced and as part of this motion.

12.       Appellant through AR maintains that a stay is critical to Appellant who is an
American citizen, in her ninth decade of life, a mother, a wife, a grandmother, feeble,
bedridden and just hanging on for dear life. The arbitrary uprooting Appellant from her
homestead will be devastating and more than likely will be fatal to her life, AR is afraid
to say.

13.       Given the fact that Appellant has previously reached out to Appellees on more
than one occasion requesting full disclosure of the evidence of an actual delivery of a
thing of value as required in a consumer loan and as further mandated by Corp. Code §
107. Neither Appellees, nor counsels for Appellees have addressed this query when
directly confronted, which is unfair and a clear violation of consumer disclosures law of

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both state and federal systems of law. Let us not forget that nudum pactum is a type
of contract without consideration and upon which no right of action can arise. Appellant
has made the reasonable offer to settle any valid claims upon proof of delivery of a thing
of value or in like kind medium of exchange which again has been evaded, ignored by
both Appellees, counsel fo Appellees and Judge Montali.

14.    Appellees by their silence have failed to demonstrate any economic damage
they have suffered in the original loan of money agreement. Further Appellees have
failed to evidence their actual economic investment beyond their paper and ink in the
original loan agreement. What Appellant has been able to gather thus far is that
Appellees and their counsels have succeeded in getting the bankruptcy court to
sanction their apparent paper and ink investment is the equivalent of Appellant’s thirty
(30) years of sweat equity. Appellees have failed to produce evidence that they have
complied with the disclosure laws for consumer loans, they have failed to produce
evidence in their original loan of money agreement that they have complied with Civil
Code § 1478 as it pertains to actual delivery of payment in a medium of exchange
mandated in the lawful money of the United States pursuant to Corp Code § 107 and
the criminal mandate of Penal Code § 648. On these issues alone the requested stay
should be continued as a matter of law, good faith, fair dealing which are hallmarks in all
valid contracts. This issue will be more fully covered in Appellant’s Opening Brief.

15.    The Constitution guarantees Appellant equal protection under the laws of
currency, consideration and tender. Appellees’ refusal to answer Appellant’s direct
request for full disclosure of each and every element pertaining to the original loan of
money agreement is unethical, unreasonable and just plain wrong. Such refusal to
provide evidence to support their claim should be reason enough to continue the stay
since they cannot prove they have economic investment nor suffered any economic
detriment from the original agreement.

16.    In continued good faith Appellant is still ready to settle all purported claims
consistent with current federal public policy in like kind medium of exchange once said
medium of exchange is disclosed to Appellant as guaranteed under said Fifth and
Fourteenth Amendments and all the consumer protection disclosures law both state and

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federal which right to full disclosure Honorable Judge Montali deprived Appellant, an
American Citizen of.

17.    Further if any bond is required to support the appellate process, Appellant
extends this offer to cover any such bond in a medium of exchange consistent with
current federal public policy, law and custom.



                                        Conclusion
       WHEREFORE, Appellant prays that this court issue an Order that the Automatic
Stay be continued in effect as to all appellees until further order of the court.

       For other relief requested as the court deems just and proper.


Respectfully submitted.


Dated: October 10, 2023
                                           ____________________________________
                                           Don Shannon, Authorized Representative for
                                           Appellant




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                DECLARATION OF APPELLANT BY AR UNDER POA
       I, Don Shannon, as the Authorized Representative (AR) of the Appellant under a
POA. I have read the foregoing motion consisting of eight pages, and the attached
materials incorporated therein by reference.

       That I state on the record and for the record that Appellant is the mother-in-law of
AR.

       That Appellant is an aged woman in her ninth decade of living, she is a wife,
widow, mother, grandmother, bedridden, feeble, suffers from dementia, and needs
around the clock care.

       That Appellant is a victim of circumstances beyond her control or ability to alter
given her age and condition.

       That Appellant’s homestead is all that she possesses of value.

       That uprooting Appellant from her homestead will be devastating and I fear will
destroy her and those that care for her.

       That we have continually requested full disclosure from Appellees and their
counsels regarding the medium of exchange that they employed in the original
agreement, and they have failed, refused, evaded or just gone silent.

       That a nudum pactum contract is one in which a right of action cannot arise.

       That if Appellees’ loans were in comportment with the Federal Reserve Board
books such as “Modern Money Mechanic” or “I bet you thought” then said loans are
subject to the “like kind” rule under equal protection under the laws of currency,
consideration and tender and Appellant only seeks full disclosure of each element
pertaining to said contract so that the contract can be settled and closed.

       I declare under penalty of perjury under the laws of the United States of America
that the foregoing is true and correct.

Dated: October 10, 2023
                                            ________________________________
                                            Don Shannon, AR for Appellant

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                                  Declaration of Service

I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding.
My business address is:
A true and correct copy of the foregoing document entitled:
NOTICE OF MOTION AND MOTION IN INDIVIDUAL CASE FOR ORDER IMPOSING A STAY
OR CONTINUING THE AUTOMATIC STAY AS THE COURT DEEMS APPROPRIATE (with
supporting declarations) will be served or was served (a) on the judge in chambers and by
registered mail.


2. SERVED BY UNITED STATES MAIL: On October 10, 2023, I served the following persons
and/or entities at the last known addresses in this bankruptcy case by placing a true and correct
copy thereof in a sealed envelope in the United States mail, first class, postage prepaid, and
addressed as follows.
                                1. Party: Citibank, N.A.
                                Attorney: Nathan F. Smith
                                Malcolm Cisneros, A Law Corp.
                                Attn: Nathan Frederick Jones Smith
                                2112 Business Center Drive, 2nd Fl,
                                Irvine, California 92612
                                (949) 252-9400

                                2. Party: Deutsche Bank National Trust Company
                                Attorney: Fanny Zhang Wan
                                Robertson, Anschutz, Schneid & Crane LLP
                                Attn: Fanny Zhang Wan, counsel for
                                350 10th Ave., Suite 1000
                                San Diego, CA 92101
                                (470) 321-7112


I declare under penalty of perjury under the laws of the United States of America that the foregoing is
true and correct.



Date: October 10, 2023
                                        ______________________________________________
                                        Don Shannon, Authorized Representative of Appellant




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      5HFRXUVH 3D\ WR WKH 2UGHU RI ,PSDF )XQGLQJ &RUSRUDWLRQ´ ZKLFK GHPRQVWUDWHV DSSDUHQW DOWHUDWLRQ RI WKH RULJLQDO
      QRWH E\ DSSDUHQW QHJRWLDWLRQ DW OHDVW WZLFH WKDW DSSDUHQWO\ ZDV VLJQHG E\ RQH $QD &HUYLV IRU 5HVLGHQWLDO 0RUWJDJH
      &DSLWDO DQG RQH (UFDQ 2]EHN IRU ,PSDF )XQGLQJ &RUSRUDWLRQ KHUHLQDIWHU ³,)&´  ,W LV FOHDU IURP WKH HYLGHQFH WKDW
      $QD &HUYLV RI 50&$&& DQG (UFDQ 2]EHN RI ,)& ERWK ³WUHDWHG´ WKH $51 E\ H[HFXWLQJ WKH LQVWUXPHQW DV D GUDIW D
      FKHFN &OHDUO\ LQ WKH $51 FDQ RQH ILQG WKH DXWKRUL]DWLRQ IRU 50&$&& WR ³WUHDW´ WKH $51 DV D GUDIW DQG FDVK LW RXW
      ZKLFK DSSDUHQWO\ $QD &HUYLV GLG RQ EHKDOI RI 50&$&& ZLWKRXW DQ\ GLVFORVXUH RI VXFK WR 'HEWRU 7KLV LV FOHDUO\
      PRUDO WXUSLWXGH VR XQHWKLFDO DQG SUREDEO\ FULPLQDO +RZ GR \RX IRON VOHHS DW QLJKW , DVN \RX"

    0U &RYH\ MXVW ZKHUH LV DQG ZKR KDV DFWXDO SK\VLFDO FXVWRG\ RI WKH RULJLQDO $51 WKDW LV WKH IRXQGDWLRQDO GRFXPHQW
      WKDW VHUYHV DV WKH EDVLF WKUXVW IRU DOO \RXU FODLPV DVVHUWLRQV IRU EHLQJ WKH $XWKRUL]HG $JHQW IRU 6HFXUHG &UHGLWRU
       KHUHLQDIWHU ³$$)6&´ " $V \RX VKRXOG NQRZ SXUVXDQW WR VWDWH ODZ \RXU FRUSRUDWLRQ LV VXEMHFW WR &DOLIRUQLD ODZ DQG
      UHTXLUHV \RX WR FRPSO\ ZLWK &DOLIRUQLD &RUSRUDWLRQ &RGH   DV D PDWWHU RI ODZ 3OHDVH EH IXUWKHU DGYLVHG WKDW
      &DOLIRUQLD ODZ SURYLGHV DW &8&&   H 

         $Q LQVWUXPHQW LV D QRWH LI LW LV D SURPLVH DQG LV D GUDIW LI LW LV DQ RUGHU ,I DQ LQVWUXPHQW IDOOV ZLWKLQ WKH GHILQLWLRQ
         RI ERWK QRWH DQG GUDIW D SHUVRQ HQWLWOHG WR HQIRUFH WKH LQVWUXPHQW PD\ WUHDW LW DV HLWKHU (PS DGGHG EROG PLQH

    3XUVXDQW WR 7UXWK LQ /HQGLQJ $FW  5HJXODWLRQ =   &)5   F  DQG 5(63$  7LWOH  86&   H RU
      RWKHU IHGHUDO ODZV JRYHUQLQJ WKH W\SLFDO $51 FRQWDLQV ERWK WKH YHUELDJH RI D SURPLVH DQG RUGHU DQG WR FOHDU XS DQ\
      FRQIXVLRQ , DP GHPDQGLQJ IURP \RX D FHUWLILHG VWDWHPHQW RI DQ DFFRXQWLQJ RQ WKH KLVWRU\ RI $51 DQG RWKHU ORDQ
      GRFXPHQWV ZKLFK ZHUH GHSRVLWHG ZLWK 50&$&& IRU VDIHNHHSLQJ DV UHIHUHQFHG LQ VDLG GHHG RI WUXVW

    , DP IXUWKHU GHPDQGLQJ IURP \RX FHUWLILHG WUXH DQG FRUUHFW FRORU FRS\ RI $51 WKH GHHG RI WUXVW LQVXUDQFH SROLF\ RQ
      WKH $51 DOO ERRNNHHSLQJ OHGJHU DFFRXQWV DOO HVFURZ WLWOH FRQILGHQWLDO FRPPXQLFDWLRQV  2,' )RUP 'HSRVLW
      $SSOLFDWLRQ&XVWRG\ 5HFHLSW '7& IRUP 'HSRVLW $SSOLFDWLRQ 2QH WR )RXU )DPLO\ 0RUWJDJHV  )RUP
      07*0257'3:. )HGHUDO 5HVHUYH %RUURZHU LQ &XVWRG\ RI &ROODWHUDO VL[ SDJH IRUP IRU VDLG $51 FHUWLILHG
      FRSLHV RI WKH FDQFHOHG FKHFNV DVVRFLDWHG ZLWK ORDQ $FFRXQW  WKDW VKRXOG KDYH EHHQ LVVXHG E\
      50&$&& LQ SD\PHQW RI VDLG $51 HLWKHU WKH ZHHN EHIRUH RU DIWHU -XQH WK $'  DQG WKH SURGXFWLRQ RI WKH
      RULJLQDO $51 IRU SXUSRVHV RI SK\VLFDO LQVSHFWLRQ :K\" %HFDXVH , DP VHHNLQJ HYLGHQFH WR FRQILUP LQ ZKDW FDSDFLW\
      ZDV WKH $51 ³WUHDWHG´ LH HLWKHU DV D QRWH RU GUDIW 3OHDVH EH DGYLVHG WKDW WKH SUDFWLFH RI IDLOLQJ WR GLVFORVH WKHVH
      IDFWV WR D ERUURZHU LQ WKH PRUWJDJH DJUHHPHQW SULRU WR H[HFXWLQJ WKH DJUHHPHQW YRLGV WKH VSHFLILF SHUIRUPDQFH
      DVSHFWV RI WKH $51 EHFDXVH LW YLRODWHV 5(63$  86&  DQG 5HJXODWLRQ = DW  &)5  E  F  RI
      WKH 7UXWK LQ /HQGLQJ $FW WR ZLW

          E 7KH FUHGLWRU VKDOO PDNH GLVFORVXUH EHIRUH FRQVXPPDWLRQ RI WUDQVDFWLRQ
          F  %DVLV RI GLVFORVXUHV DQG XVHV RI HVWLPDWHV 7KH GLVFORVXUHV VKDOO UHIOHFW WKH WHUPV RI WKH
         OHJDO REOLJDWLRQV EHWZHHQ WKH SDUWLHV                   (PS DGGHG EROG PLQH

   , KDYH UHFHQWO\ EHHQ LQIRUPHG WR P\ VKRFN WKDW 50&$&& DSSDUHQWO\ DFFHSWHG IRU GHSRVLW 'HEWRU¶V $51 DQG
      HQGRUVHG VDLG $51 DV D FUHGLW WR 50&$&& EDQN¶V DVVHWV ZLWKRXW UHFRXUVH DQG ZLWKRXW DQ\ ILQDQFLDO ULVN RI WKHLU
      RZQ DVVHWV LQ WKH SURFHVV RI IXQGLQJ WKH VXEMHFW $51 $FFRXQW  WKDW \RX DV $$)6& DUH DVVHUWLQJ LV
      GXH DQG RZLQJ DV RSSRVHG WR GHSRVLWLQJ VDLG QRWH LQWR $FFRXQW  DV VHFXULW\ FROODWHUDO IRU VDIHNHHSLQJ
      SXUSRVHV ,V WKLV WUXH" ,I VR SOHDVH LGHQWLI\ WKH DFFRXQW QXPEHU RI WKH DFFRXQW IURP ZKLFK WKH IXQGV RULJLQDWHG WR
      IXQG ORDQ $FFRXQW  DQG WKH QDPH RI WKH GHSRVLWRU ZKR H[HFXWHG WKH FKHFN WKDW SURYLGHG WKH PRQH\
      WKDW IXQGHG $FFRXQW  $IWHU DOO WKDW LV WKH OHDVW WKDW \RX FDQ GR JLYHQ WKH IDFW RI ZKDW \RX¶YH DVVHUWHG
      DV $$)6& XQGHU \RXU VLJQDWXUH LQ \RXU 5)6 DV KDV EHHQ SRLQWHG RXW KHUHLQ

   3OHDVH EH IXUWKHU DZDUH WKDW LI 'HEWRU¶V $51 ZDV DOWHUHG E\ WUHDWLQJ LW DV D GUDIW ZLWKRXW 'HEWRU¶V SULRU QRWLFH DQG
      FRQVHQW GXH WR 50&$&&¶V SUHPHGLWDWHG IDLOXUH WR PDNH IXOO GLVFORVXUH RI WKH VDPH DV UHTXLUHG E\  &)5 
       F  LV LPPRUDO DQG LOOHJDO )XUWKHU DFFRUGLQJ WR &8&&   WKH REOLJDWLRQ WR SD\ WKH PRQWKO\ QRWH LV
      GLVFKDUJHG E\ RSHUDWLRQ RI ODZ SXUVXDQW WR WKH 5XOH RI 0DWHULDO $OWHUDWLRQ 6HH &8&&   SURYLGHV

                                                             3DJH  RI 

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                                                  EXHIBIT 1
          D $OWHUDWLRQ PHDQV  DQ XQDXWKRUL]HG FKDQJH LQ DQ LQVWUXPHQW WKDW SXUSRUWV WR PRGLI\ LQ DQ\ UHVSHFW
         WKH REOLJDWLRQ RI D SDUW\ RU  DQ XQDXWKRUL]HG DGGLWLRQ RI ZRUGV RU QXPEHUV RU RWKHU FKDQJH WR DQ
         LQFRPSOHWH LQVWUXPHQW UHODWLQJ WR WKH REOLJDWLRQ RI D SDUW\
          E ([FHSW DV SURYLGHG LQ VXEGLYLVLRQ F  DQ DOWHUDWLRQ IUDXGXOHQWO\ PDGH GLVFKDUJHV D SDUW\ ZKRVH
         REOLJDWLRQ LV DIIHFWHG E\ WKH DOWHUDWLRQ XQOHVV WKDW SDUW\ DVVHQWV RU LV SUHFOXGHG IURP DVVHUWLQJ WKH
         DOWHUDWLRQ                            (PS DGGHG EROG PLQH

      6HH DOVR &LYLO &RGH   ([WLQFWLRQ E\ XQDXWKRUL]HG DOWHUDWLRQ

         7KH LQWHQWLRQDO GHVWUXFWLRQ FDQFHOODWLRQ RU PDWHULDO DOWHUDWLRQ RI D ZULWWHQ FRQWUDFW E\ D SDUW\ HQWLWOHG
         WR DQ\ EHQHILW XQGHU LW RU ZLWK KLV FRQVHQW H[WLQJXLVKHV DOO WKH H[HFXWRU\ REOLJDWLRQV RI WKH FRQWUDFW
         LQ KLV IDYRU DJDLQVW SDUWLHV ZKR GR QRW FRQVHQW WR WKH DFW (PS DGGHG EROG PLQH

   *LYHQ WKH FRPSOH[ QDWXUH RI WKH WHUPV DQG FRQGLWLRQV RI VDLG $51 DQG GHHG RI WUXVW FRQWUDFW 'HEWRU KDG QR SULRU
      XQGHUVWDQGLQJ RI WKH ³³3D\ WR WKH 2UGHU RI :LWKRXW 5HFRXUVH ,PSDF )XQGLQJ &RUSRUDWLRQ 5HVLGHQWLDO
      0RUWJDJH &DSLWDO´ DQG ³:LWKRXW 5HFRXUVH 3D\ WR WKH 2UGHU RI ,PSDF )XQGLQJ &RUSRUDWLRQ´ FRQWDLQHG ZLWKLQ
      WKH IRXU FRUQHUV RI 'HEWRU¶V $51 HVSHFLDOO\ VLQFH WKDW SKUDVH LV QRW FRQWDLQHG RQ 'HEWRU¶V FRS\ RI WKH $51
      DQG IXUWKHU ERWK VWDPSV DQG VLJQDWXUHV ZHUH H[HFXWHG $)7(5 'HEWRU¶V SRRU GHDG KXVEDQG DQG 'HEWRU
      H[HFXWHG WKH VDPH RQ -XQH WK  KRZ XQHWKLFDO )XUWKHU 50&$&& IDLOHG WR IXOO\ GLVFORVH KRZ WKH $51
      ZRXOG EH WUHDWHG *LYHQ WKH ZLOOIXO IDLOXUH RI IXOO GLVFORVXUH E\ 50&$&& KDYLQJ RFFXUUHG WKLV YRLGV WKH FRQWUDFW
      XQGHU WKH XQFRQVFLRQDEOH HOHPHQW RI IDLOXUH WR PDNH IXOO GLVFORVXUH 3OHDVH EH DGYLVHG WKDW WKLV IDLOXUH FRQVWLWXWHV D
      YLRODWLRQ RI VDLG GLVFORVXUH ODZV )XUWKHU DV VWDWHG KHUHLQ WKDW LI WKH QRWH KDG LQ IDFW EHHQ DOWHUHG DIWHU 'HEWRU¶V
      H[HFXWLRQ RI VDLG $51 WKHQ WKH 5XOH RI 0DWHULDO $OWHUDWLRQ ZRXOG DSSO\ DQG 'HEWRU¶V REOLJDWLRQV RI VSHFLILF
      SHUIRUPDQFH RI PRQWKO\ SD\PHQWV FRQWDLQHG LQ WKH $51 ZHUH GLVFKDUJHG RQ WKH GD\ 50&$&&¶V $QD &HUYLV
      H[HFXWHG WKH DOWHUHG $51 E\ RSHUDWLRQ RI ODZ 6HH &&   DQG &8&&   $JDLQ WKH SURGXFWLRQ E\ \RX RI
      WKH RULJLQDO XQDOWHUHG ZHW LQN $51 VLJQHG E\ 'HEWRU DORQJ ZLWK WKH ORDQ SDSHUV GHVFULEHG DERYH LV UHTXHVWHG WKDW
      'HEWRU PD\ EH DEOH WR YHULI\ LQ ZKLFK IRUP 'HEWRU¶V RULJLQDO $51 ZDV WUHDWHG

   0U &RYH\ LQ OLJKW RI WKH IRUHJRLQJ WKLV LV D IRUPDO QRWLFH DQG GHPDQG XSRQ \RX DV $$)6& IRU IXOO GLVFORVXUH
      DQG YDOLGDWLRQ PDGH SXUVXDQW WR WKH )DLU 'HEW &ROOHFWLRQ 3UDFWLFHV $FW WKH 7UXWK LQ /HQGLQJ $FW 5HJXODWLRQ =
      5(63$   86&   GLVFORVXUH PDQGDWH 3OHDVH SURGXFH ZLWKLQ WKUHH  GD\V FHUWLILHG FRSLHV RI WKH DERYH
      GHVFULEHG GRFXPHQWV H[HFXWHG E\ 'HEWRU RQ -XQH WK $'  DQG WKH FHUWLILHG FRSLHV RI WKH RWKHU GRFXPHQWV
      DVVRFLDWHG ZLWK $FFRXQW  RXWOLQHG LQ SDUDJUDSK    DQG  KHUHLQ DORQJ ZLWK WKH ORFDO SK\VLFDO
      DGGUHVV RI WKH SHUVRQ ZKR KDV DFWXDO SK\VLFDO FXVWRG\ RI 'HEWRU¶V $51 IRU LQVSHFWLRQ DQG FRS\ SXUSRVHV DUH
      SURYLGHG XQGHU +20( 0257*$*( ',6&/2685( RI %&)3 DV SURYLGHG LQ 7LWOH  86&  HW VHT 7LWOH 
      86&   DQG RWKHU DSSOLFDEOH IHGHUDO PRUWJDJH GLVFORVXUH ODZV ,I QR UHVSRQVH LV UHFHLYHG ZLWKLQ WKUHH  GD\V
      D FRS\ RI WKLV LQVWUXPHQW ZLOO EH VHUYHG XSRQ WKH 86%& 1'& WR LQ D )5&3 5XOH  D E DQGRU %DQNUXSWF\ VLPLODU
      UXOH WR FKDOOHQJH \RXU SXUSRUWHG FOLHQW¶V VWDWXV DQG VWDQGLQJ WR DSSHDU LQ WKH LQVWDQW PDWWHU DV D PDWWHU RI ODZ

   $JDLQ RQH RI \RX LV RSHQO\ O\LQJ EHIRUH WKH FRXUW SHUMXU\ DQG FDQQRW PHHW WKH VWDQGDUG RI ³KDUPOHVV HUURU´ DV LW
      ZHUH DQG WKLV 127,&( LQWHQGV WR EULQJ WKLV PDWWHU WR \RXU DWWHQWLRQ SULRU WR WKH QHFHVVLW\ RI KDYLQJ WR QRWLFH WKH
      FRXUW DQG RWKHU DXWKRULWLHV ,W LV P\ KRSH E\ RXU PXWXDO DJUHHPHQW WKDW D FRQWHVW ULVLQJ IURP WKLV PLVUHSUHVHQWDWLRQ
      ZLOO EHFRPH XQQHFHVVDU\ $JDLQ WKH ZDUQLQJ LQ UHG LQ SDUDJUDSK  DERYH LV GRQH IRU \RXU EHQHILW

   ,I WKH IRUHJRLQJ LV WUXH WKHQ DOO RI \RXU VZRUQ VWDWHPHQWV SUHVHQWHG WR WKH FRXUW LQ VDLG 5)6 ERWK VWDWH DQG IHGHUDO
      DUH VXEMHFW WR WKH SHQDOW\ RI IDOVH DIILGDYLWV RI &&3  )5&3 5XOH  F  5XOH  K DV RQH ZKR LV OHJDOO\
      WUDLQHG LV UHTXLUHG WR NQRZ EHIRUHKDQG <RX DUH ZLWKRXW H[FXVH )XUWKHU WKH GXW\ RI DQ DWWRUQH\ LV RXWOLQHG LQ
      %XVLQHVV 3URIHVVLRQ &RGH  WR ZLW

          D 7R VXSSRUW WKH &RQVWLWXWLRQ DQG ODZV RI WKH 8QLWHG 6WDWHV DQG RI WKLV VWDWH
          E 7R PDLQWDLQ WKH UHVSHFW GXH WR WKH FRXUWV RI MXVWLFH DQG MXGLFLDO RIILFHUV
          F 7R FRXQVHO RU PDLQWDLQ WKRVH DFWLRQV SURFHHGLQJV RU GHIHQVHV RQO\ DV DSSHDU WR KLP RU KHU OHJDO RU
         MXVW H[FHSW WKH GHIHQVH RI D SHUVRQ FKDUJHG ZLWK D SXEOLF RIIHQVH
          G 7R HPSOR\ IRU WKH SXUSRVH RI PDLQWDLQLQJ WKH FDXVHV FRQILGHG WR KLP RU KHU WKRVH PHDQV RQO\ DV DUH
         FRQVLVWHQW ZLWK WUXWK DQG QHYHU WR VHHN WR PLVOHDG WKH MXGJH RU DQ\ MXGLFLDO RIILFHU E\ DQ DUWLILFH RU IDOVH
         VWDWHPHQW RI IDFW RU ODZ                (PSKDVLV DGGHG EROG PLQH

      , EHOLHYH , FDQ PDNH WKH FDVH WKDW \RX DQG \RXU FRPSDQ\ KDV YLRODWHG DOO RI WKH DERYH GXWLHV DV DWWRUQH\V DW ODZ

                                                         3DJH  RI 

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                                                    EXHIBIT 1
   7KH SUREOHP LV WKDW \RXU 5)6 ILOHG RYHU \RXU VLJQDWXUH DV DWWRUQH\ RI UHFRUG PDNH DOOHJDWLRQV ZKLFK DUH
      XQVXEVWDQWLDWHG DQG DSSDUHQWO\ IDOVH IUDXGXOHQW DQG ILFWLWLRXV DQG WKXV FRQVWLWXWH D PDWHULDO PLVUHSUHVHQWDWLRQ
      EHIRUH WKH FRXUW WKDW \RX NQHZ RU VKRXOG KDYH NQRZQ ZHUH IDOVH DV \RXU GXW\ XQGHU WKH PDQGDWH RI &&3 
      )5&3 5XOH  F  5XOH  K  &OHDUO\ WKHQ 3HQDO &RGH     D  DQG  DUH DSSDUHQW IHORQ\ YLRODWLRQV
      FRPPLWWHG E\ \RXU FOLHQW DVVLJQRUVHOOHU XQOHVV \RX FDQ SURYLGH WKH GLVSRVLWLYH HYLGHQFH RI WKH VSHFLILF GRFXPHQWV
      GHPDQGHG LQ SDUDJUDSKV    DQG  DERYH WKDW SURYHV RWKHUZLVH

   0U &RYH\ ZLWKRXW HYLGHQFH RI WKH H[LVWHQFH RI DQ DFWXDO GHEW WKHUH LV QR WDQJLEOH HYLGHQFH RI \RXU FOLHQW¶V FODLP RI
      ULJKW RI RZQHUVKLS RI WKH VXEMHFW SURSHUW\ ILOHG RI UHFRUG $OO ZH KDYH LV \RXU XQVXEVWDQWLDWHG 5)6 ZKLFK DSSHDUV WR
      EH IUDXGXOHQW

   0U &RYH\ \RXU SXUSRUWHG FOLHQW¶V HQWU\ LQWR WKH -XULVGLFWLRQ RI WKH FRXUW KDV EHHQ LPSURSHUO\ LQYRNHG RQ WKH IDOVH
      IUDXGXOHQW DQG ILFWLWLRXV DOOHJDWLRQV VHW RXW LQ \RXU 5)6 DQG WKH VDPH ZKROO\ IDLOV WR VWDWH D FODLP XSRQ ZKLFK UHOLHI
      PD\ SURSHUO\ EH JUDQWHG <RX NQHZ RU VKRXOG KDYH NQRZQ WKH IRUHJRLQJ SULRU WR ILOLQJ VDLG 5)6 LQ %DQNUXSWF\ &DVH
      1R í '0 

   , PDLQWDLQ WKDW WKH VROH LQWHQW RI \RXU DFWLRQV ZHUH GRQH IRU SXUSRVH RI IUDXG GHFHLW WKHIW RI UHDO SURSHUW\ ULJKWV
      XQODZIXO FRQYHUVLRQ RI UHDO SURSHUW\ GRPHVWLF WHUURULVP VLPXODWLRQ RI MXGLFLDO SURFHVV IRU SXUSRVH RI XQMXVW
      HQULFKPHQW H[WRUWLRQ LQ FRQMXQFWLRQ ZLWK ZLUH IUDXG PDLO IUDXG LQ DQ DUWLILFH WR GHSULYH 'HEWRU RI WKH LQWDQJLEOH ULJKW WR
      KRQHVW VHUYLFHV PDQGDWHG XQGHU 7LWOH  86&     DQG   DPRQJ RWKHU KLJK FULPHV DQG
      PLVGHPHDQRUV &OHDUO\ WKH IDFWV LQYROYLQJ WKH KLVWRU\ RI WKLV PDWWHU LI WKH\ KDG EHHQ SURSHUO\ YHWWHG ZLWK GXH
      GLOLJHQFH E\ XQELDVHG MXULVW DV UHTXLUHG E\ WKH UXOHV ZRXOG KDYH PHUHO\ FRUURERUDWHG WKH IDFLDO DEVHQFH RI DQ\
      OHJLWLPDWH MXVWLFLDEOH FODLP E\ \RXU SXUSRUWHG FOLHQW DV D PDWWHU RI ODZ

   0U &RYH\ \RX VKRXOG EH DZDUH 'HEWRU KDV DQG IXUWKHU LV XQGHUJRLQJ DQJVW WUDXPD DQG JUHDW PHQWDO GXUHVV DV
      UHVXOW RI WKLV PDWWHU 'HEWRU¶V UHSXWDWLRQ KDV EHHQ DQG FRQWLQXHV WR EH LQMXUHG E\ WKH FKDUDFWHU RI WKLV 5)6 DQG \RXU
      DFWLRQV ,WV KDYLQJ EHHQ ILOHG DQG LWV FRQWLQXDWLRQ LV DFWLRQDEOH HOGHU DEXVH IRU VWDUWHUV DQG LQ GXH FRXUVH ZLOO UHVXOW LQ
      'HEWRU KDYLQJ WR VHHN UHPHGLHV DIIRUGHG E\ ODZ ,Q OLJKW RI WKH IRUHJRLQJ IDFW WKDW QHLWKHU WKH FRXUW QRU , ZHUH HYHU
      SURYLGHG DFWXDO HYLGHQFH RI GHEW WR HVWDEOLVK WKH ODZIXO VWDQGLQJ RI \RXU FOLHQW LV D ZLOOIXO YLRODWLRQ RI &&3 
      % 3 &RGH  G   D  6LPSO\ VWDWHG DEVHQW DFWXDO SURRI RI FODLP WKLV 5)6 LV QRW ULJKW DQG 'HEWRU ZLOO VHHN
      D FRPSOHWH FRUUHFWLRQ RI WKLV ZURQJ 5HPHPEHU )UDXG DQG -XVWLFH 1HYHU 'ZHOO 7RJHWKHU )XUWKHU WKH ODZ
      OHDYHV ZURQJGRHUV ZKHUH LW ILQGV WKHP

   $FFRUGLQJO\ , VXJJHVW WKDW \RX FDUHIXOO\ FRQVLGHU WKH IRUHJRLQJ DQG WKDW \RX H[HUFLVH WKLV RSSRUWXQLW\ WR PDNH DQ
      LQIRUPHG FKRLFH DV WR ZKHWKHU WR ZLWKGUDZ RU RWKHUZLVH DEDWH WKH IDOVH IUDXGXOHQW DQG ILFWLWLRXV DOOHJDWLRQV DV DUH
      FRQWDLQHG LQ WKH XQGHUO\LQJ 5)6 IXUWKHU LPPHGLDWHO\ SULRU WR WKH PHHWLQJ RI FUHGLWRUV KHDULQJ WR DOORZ \RXUVHOI DQG
      \RXU FRPSDQ\ WR SURSHUO\ UHYLHZ WKH FRQWHQWV RI WKLV LQVWUXPHQW DQG IXUWKHU SURYLGH 'HEWRU DOO GRFXPHQWV GHPDQGHG
      LQ SDUDJUDSKV    DQG  DERYH DQG XSRQ UHYLHZ RI VDPH \RX DGPLW WR WKH WUXWK RI WKH VDPH WR ILQDOO\
      FRPSHQVDWH 'HEWRU IRU DOO WKH GDPDJHV VXIIHUHG IRU KDYLQJ WR GHDO ZLWK DQG IXUWKHU DGGUHVV WKLV XQODZIXO KDUDVVPHQW
      E\ IUDXG LQ IDFWXP

   $V \RX DUH DZDUH \RX KDYH DQ DIILUPDWLYH GXW\ XQGHU &&3  )5&3 5XOH  F  5XOH  K WR DVFHUWDLQ WKH
      WUXWKIXOQHVV RI \RXU FOLHQW¶V VWDQGLQJ DV VWDWHG LQ \RXU SOHDGLQJV YLD D GLOLJHQW LQTXLU\ LQWR WKH IDFWV WKH HYLGHQFH DQG
      WKH ODZ DSSOLFDEOH LQ WKLV FDVH WKDW DUH ³UHDVRQDEOH XQGHU WKH FLUFXPVWDQFHV´ ,W DSSHDUV WKDW \RX KDYH IDLOHG WR
      PHHW WKDW FULWHULD RI WKH IRXQGDWLRQDO WKUHVKROG PDQGDWHG XQGHU &&3  VXSUD 7KURXJK \RX DV FRXQVHO \RXU
      FOLHQW KDV SURFHHGHG RQ DQ XQODZIXO H[WRUWLRQ E\ ZD\ RI XQMXVW HQULFKPHQW WKURXJK IUDXG LQ IDFWXP GHFHLW IDLOXUH RI
      IXOO GLVFORVXUH RI FRQWUDFW WHUPV RI WKH VXEMHFW SURSHUW\ ZLWKRXW D MXVW DQG SURSHU LQWHUHVW LQ WKLV FDVH <RX HLWKHU NQHZ
      RU \RX VKRXOG KDYH NQRZQ WKHVH FLUFXPVWDQFHV IURP DQ DIILUPDWLYH LQTXLU\ SULRU WR SODFLQJ WKHVH PLVUHSUHVHQWHG
      IDFWV DQG 5)6 EHIRUH WKH FRXUW $V VWDWHG , KRSH WKDW WKLV PDWWHU FDQ EH H[SODLQHG DV \RX KDYLQJ EHHQ PLVOHG E\
      \RXU FOLHQW DQG WKDW WKHVH DUH QRW \RXU DIILUPDWLYH DFWV RI RYHUW PLVUHSUHVHQWDWLRQ 8QIRUWXQDWHO\ XQGHU WKHVH
      FLUFXPVWDQFHV WKH\ UHPDLQ DV \RXU DIILUPDWLYH HUURUV DQG RPLVVLRQV 8QIRUWXQDWHO\ WKHVH FLUFXPVWDQFHV EULQJ LQWR
      TXHVWLRQ \RXU RZQ VWDQGLQJ DV FRXQVHO LQ WKLV FDVH EHIRUH WKH 6WDWH %DU RI &DOLIRUQLD DQG DV DQ RIILFHU RI WKH FRXUW ,
      IHDU WKDW \RX KDYH EHHQ PLVOHG E\ WKH SUHYDULFDWLRQV DQG PHQGDFLW\ RI \RXU FOLHQW DQGRU \RXU RZQ ODFN RI GXH
      GLOLJHQFH DV UHTXLUHG E\ WKH UXOHV RI FRXUW

    3UXGHQFH GLFWDWHV WKDW \RX UHFRQVLGHU \RXU SRVLWLRQ LQ WKLV PDWWHU SULRU WR DQ\ IXUWKHU DFWLRQV RQ 'HEWRU¶V KRPH ,
      KHUH H[WHQG WKLV RSSRUWXQLW\ IRU \RX WR GR VR E\ ZLWKGUDZLQJ WKH RIIHQGLQJ SOHDGLQJV LQ JHQHUDO DQG FRPSHQVDWH
      GHEWRU E\ LPPHGLDWH UHFRQYH\DQFH RI VXEMHFW SURSHUW\ DQG UHWXUQ RI DOO PRQH\V FROOHFWHG IURP 'HEWRU E\ \RXU FOLHQW


                                                           3DJH  RI 

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                                       EXHIBIT
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        72             0$/&2/0 Ƈ &,61(526 $ /DZ &RUSRUDWLRQ
                        $WW &+5,67,1$ - .+,/ 6%1 
                         %XVLQHVV &HQWHU 'U 6WH  ,UYLQH &$ 

        )520           'RQ 6KDQQRQ 32$ IRU 2UGHOO ( 0RRQ
                        FR  /DNHYLOOH 6W 3HWDOXPD &$ 

        68%-(&7        127,&(                                             &HUWLILHG 0DLO  
                                                                           $FFRXQW /RDQ 
        '$7(            0D\ 

                                                         127,&(

127,&( LV VHUYHG XSRQ &+5,67,1$ - .+,/ 6%1  (PDLO FKULVWLDQR#PFODZRUJ ZLWK 0$/&2/0 Ƈ
&,61(526 $ /DZ &RUSRUDWLRQ DOOHJHG FRXQVHO IRU DQG LQ EHKDOI RI &,7,%$1. 1$ KWWSVPDOFROPFLVQHURVFRP
SHUWDLQLQJ WR WKH PDWWHU RI %DQNUXSWF\ &DVH 1R í '0  IRU 'HEWRU 25'(// (/,=$%(7+ 0221 <RXU
SURPSW DFWLRQ LV UHTXLUHG DV IROORZV

   7KLV QRWLFH LV VHUYHG YLD HPDLO WR FKULVWLDQR#PFODZRUJ DQG 86 PDLO DV VHW RXW DERYH ZLWK UHVSHFW WR WKH &KDSWHU
      EDQNUXSWF\ RI VDLG 'HEWRU RULJLQDOO\ ILOHG LQ WKH 8QLWHG 6WDWHV %DQNUXSWF\ &RXUW LQ WKH 1RUWKHUQ 'LVWULFW RI
     &DOLIRUQLD 6DQ )UDQFLVFR 'LVWULFW KHUHLQDIWHU ³86'& 1'2&´ XQGHU %DQNUXSWF\ &DVH 1R í '0 

   8SRQ UHYLHZ RI WKH 2IILFLDO )RUP  3URRI RI &ODLP KHUHLQDIWHU ³ 32&´ GRFXPHQWV H[HFXWHG $SULO  
     DQG UHFHQWO\ ILOHG RI UHFRUG LQ VDLG FDVH QXPEHU WKH FRQWHQW RI WKH XQGHUO\LQJ  32& DQG GRFXPHQWV FRQWDLQ
     IDOVH IUDXGXOHQW DQG ILFWLWLRXV DOOHJDWLRQV DQG WKHUHIRUH FRQWDLQ D PLVUHSUHVHQWDWLRQ WR WKH FRXUW LQ YLRODWLRQ RI \RXU
     VZRUQ GXW\ DV DQ RIILFHU RI WKH FRXUW UHVSHFWLQJ GXH GLOLJHQFH LQ SUHSDUDWLRQ RI WKH SOHDGLQJ ILOHG RYHU \RXU VLJQDWXUH
     HW VHT WKLV 127,&( LQWHQGV WR ILUVW SRLQW RXW WR \RX WKH DSSDUHQW PLVUHSUHVHQWDWLRQV DQG WKHQ VHFRQGO\ DIIRUG WR
     \RX DQ RSSRUWXQLW\ WR PDNH DQ LQIRUPHG FKRLFH WR FRUUHFW DQG RU ZLWKGUDZ WKRVH PLVUHSUHVHQWDWLRQV SULRU WR WKH
     QHFHVVLW\ RI P\ KDYLQJ WR EULQJ WKLV PDWWHU WR WKH DWWHQWLRQ RI WKH FRXUW ZLWK DSSURSULDWH VDQFWLRQV EHLQJ UHTXHVWHG ,
     DP SUHSDUHG WR IRUZDUG D WUXH FRS\ RI WKLV QRWLFH WR WKH 6WDWH %DU RI &DOLIRUQLD SXUVXDQW WR % 3 &   D  E 
      F  G  I  J    D IRU SXUSRVH RI GLVEDUPHQW SURFHHGLQJV DJDLQVW \RX DQG \RXU FRQIHGHUDWHV

   7KHUH DSSHDUV WR EH D IUDXG RQ WKH FRXUW E\ \RXU FKDUDFWHUL]DWLRQ RI \RXU FOLHQW EHLQJ D ³VHFXUHG FUHGLWRU´ DV LV
     GHFODUHG LQ WKH  32& DQG ([KLELWV \RX ILOHG RI UHFRUG DQG IXUWKHU VHQW WKURXJK WKH 8QLWHG 6WDWHV 0DLO VHUYLFH
     VXSSRUWLQJ \RXU GHFODUDWLRQ ZKLFK IDLO WR HVWDEOLVK DV IDFW WKH DFWXDO H[LVWHQFH RI DQ ³RXWVWDQGLQJ GHEW REOLJDWLRQ´ RI
     'HEWRU WR \RXU FOLHQW &LWLEDQN 1$ <RX FKHFNHG ER[ DW SDUW  RI SDJH  RI  32& ³, DP WKH FUHGLWRU¶V DWWRUQH\´

   <RX DFNQRZOHGJH RQ SDJH  DW SDUW  LQ \RXU GHFODUDWLRQ H[HFXWHG RQ $SULO   WKXV ³, XQGHUVWDQG WKDW DQ
     DXWKRUL]HG VLJQDWXUH RQ WKLV 3URRI RI &ODLP VHUYHV DV DQ DFNQRZOHGJPHQW WKDW ZKHQ FDOFXODWLQJ WKH DPRXQW RI WKH
     FODLP WKH FUHGLWRU JDYH WKH GHEWRU FUHGLW IRU DQ\ SD\PHQWV UHFHLYHG WRZDUG WKH GHEW , KDYH H[DPLQHG WKH
     LQIRUPDWLRQ LQ WKLV 3URRI RI &ODLP DQG KDYH D UHDVRQDEOH EHOLHI WKDW WKH LQIRUPDWLRQ LV WUXH DQG FRUUHFW ,
     GHFODUH XQGHU SHQDOW\ RI SHUMXU\ WKDW WKH IRUHJRLQJ LV WUXH DQG FRUUHFW´ :RZ :KDW DQ DPD]LQJ FRQIHVVLRQ 0V
     &KULVWLQD - .KLO +DYH \RX DFWXDOO\ UHYLHZHG WKH GRFXPHQWV \RX ILOHG RI UHFRUG LQ WKLV LQVWDQW PDWWHU" , ILQG LW KDUG WR
     EHOLHYH WKDW \RX GLG EHLQJ RQH ZKR LV OHJDOO\ WUDLQHG <RX MXVW PLJKW ZDQW WR UHYLHZ D VHFRQG WLPH SULRU WR P\ DJDLQ
     KDYLQJ WR EULQJ WKLV PDWWHU WR WKH DWWHQWLRQ RI WKH FRXUW , GR WKLV LQ JRRG IDLWK ZLWK UHVSHFW JLYHQ WKH ZDUQLQJ RQ SDJH
     WKUHH RI VDLG  IRUP WR ZLW $ SHUVRQ ZKR ILOHV D IUDXGXOHQW FODLP FRXOG EH ILQHG XS WR  LPSULVRQHG
     IRU XS WR  \HDUV RU ERWK  86&    DQG  &OHDUO\ LW DSSHDUV WKDW \RX KDYH EHHQ PLVOHG RU OLHG
     XQGHU RDWK EHIRUH WKH FRXUW E\ ZD\ RI \RXU GHFODUDWLRQ 0V .KLO &&3   DQG RU )5&3 5XOH  F DQG 5XOH
      K LV FLWHG LQ OLJKW RI 7LWOH  86&   IRU KDYLQJ NQRZOHGJH RI WKH ODZ DQG \RX DUH QRZ ZLWKRXW H[FXVH GHDU
     PDGDP

   0V .KLO LQ VXSSRUW RI \RXU VZRUQ GHFODUDWLRQ \RX DWWDFKHG VHYHUDO GRFXPHQWV LQ VXSSRUW RI WKH  32& KDYH \RX
     DFWXDOO\ UHYLHZHG WKH +RPH (TXLW\ /LQH RI &UHGLW $JUHHPHQW DQG 'LVFORVXUH KHUHLQDIWHU ³+(/2&$'´ LQVWUXPHQW"
     7KHUH LV D VWDPS RQ SDJH  RI  MXVW EHORZ WKH VLJQDWXUH RI 'HEWRU WKDW VWDWHV ´3D\ WR WKH 2UGHU RI :LWKRXW
     5HFRXUVH RQ XV &LWLEDQN 1$ VXFFHVVRU E\ PHUJHU WR :HVW 1$ IRUPHUO\ NQRZQ DV &LWLEDQN :HVW  )6%´
     WKDW DSSDUHQWO\ ZDV VLJQHG E\ RQH +DUULVRQ /XYDO 93 &LWLEDQN 1$ ,W LV FOHDU IURP WKH HYLGHQFH WKDW +DUULVRQ
     /XYDO RI &LWLEDQN ³WUHDWHG´ E\ H[HFXWLQJ WKH +(/2&$' LQVWUXPHQW DV D GUDIW D FKHFN 8QIRUWXQDWHO\ KRZHYHU
     QRZKHUH LQ WKH ³GLVFORVXUH´ DVSHFW RI WKH +(/2&$' FDQ RQH ILQG WKH DXWKRUL]DWLRQ RI &LWLEDQN WR ³WUHDW´ WKH


                                                         3DJH  RI 

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      +(/2&$' DV D GUDIW DQG FDVK LW RXW ZKLFK DSSDUHQWO\ &LWLEDQN GLG ZLWKRXW DQ\ GLVFORVXUH RI VXFK WR 'HEWRU 7KLV LV
      FOHDUO\ PRUDO WXUSLWXGH VR XQHWKLFDO DQG SUREDEO\ FULPLQDO

    0V &+5,67,1$ - .+,/ MXVW ZKHUH LV DQG ZKR KDV DFWXDO SK\VLFDO FXVWRG\ RI WKH RULJLQDO +(/2&$' WKDW LV WKH
      IRXQGDWLRQDO GRFXPHQW WKDW VHUYHV DV WKH EDVLF WKUXVW IRU DOO \RXU FODLPV DVVHUWLRQV DQG DFWV DGPLWWHG LQ \RXU VZRUQ
      GHFODUDWLRQ" $V \RX VKRXOG NQRZ SXUVXDQW WR VWDWH ODZ \RXU FRUSRUDWLRQ LV VXEMHFW WR &DOLIRUQLD ODZ DQG UHTXLUHV \RX
      WR FRPSO\ ZLWK &DOLIRUQLD &RUSRUDWLRQ &RGH   DV D PDWWHU RI ODZ 3OHDVH EH IXUWKHU DGYLVHG WKDW &DOLIRUQLD ODZ
      SURYLGHV DW &8&&   H 

         $Q LQVWUXPHQW LV D QRWH LI LW LV D SURPLVH DQG LV D GUDIW LI LW LV DQ RUGHU ,I DQ LQVWUXPHQW IDOOV ZLWKLQ WKH GHILQLWLRQ
         RI ERWK QRWH DQG GUDIW D SHUVRQ HQWLWOHG WR HQIRUFH WKH LQVWUXPHQW PD\ WUHDW LW DV HLWKHU (PS DGGHG EROG PLQH

    3XUVXDQW WR 7UXWK LQ /HQGLQJ $FW  5HJXODWLRQ =   &)5   F  DQG 5(63$  7LWOH  86&   H RU
      RWKHU IHGHUDO ODZV JRYHUQLQJ WKH W\SLFDO +(/2&$' FRQWDLQV ERWK WKH YHUELDJH RI QRWH DQG GUDIW DQG WR FOHDU XS DQ\
      FRQIXVLRQ , DP GHPDQGLQJ IURP \RX D FHUWLILHG VWDWHPHQW RI DQ DFFRXQWLQJ RQ WKH KLVWRU\ RI +(/2&$' DQG RWKHU
      ORDQ GRFXPHQWV ZKLFK ZHUH GHSRVLWHG ZLWK &LWLEDQN 1$ IRU VDIHNHHSLQJ DV UHIHUHQFHG LQ VDLG GHHG RI WUXVW

    , DP IXUWKHU GHPDQGLQJ IURP \RX FHUWLILHG WUXH DQG FRUUHFW FRORU FRS\ RI +(/2&$' WKH GHHG RI WUXVW LQVXUDQFH
      SROLF\ RQ WKH +(/2&$' DOO ERRNNHHSLQJ OHGJHU DFFRXQWV DOO HVFURZ WLWOH FRQILGHQWLDO FRPPXQLFDWLRQV  2,'
      )RUP 'HSRVLW $SSOLFDWLRQ&XVWRG\ 5HFHLSW '7& IRUP 'HSRVLW $SSOLFDWLRQ 2QH WR )RXU )DPLO\ 0RUWJDJHV  )RUP
      07*0257'3:. )HGHUDO 5HVHUYH %RUURZHU LQ &XVWRG\ RI &ROODWHUDO VL[ SDJH IRUP IRU VDLG +(/2&$'
      FHUWLILHG FRSLHV RI WKH FDQFHOHG FKHFNV DVVRFLDWHG ZLWK ORDQ $FFRXQW  WKDW VKRXOG KDYH EHHQ
      LVVXHG E\ &LWLEDQN LQ SD\PHQW RI VDLG +(/2&$' HLWKHU WKH ZHHN EHIRUH RU DIWHU $XJXVW WK $'  DQG WKH
      SURGXFWLRQ RI WKH RULJLQDO +(/2&$' IRU SXUSRVHV RI SK\VLFDO LQVSHFWLRQ :K\" %HFDXVH , DP VHHNLQJ HYLGHQFH WR
      FRQILUP LQ ZKDW FDSDFLW\ ZDV WKH +(/2&$' ³WUHDWHG´ LH HLWKHU DV D OLQH RI FUHGLW RU GUDIW 3OHDVH EH DGYLVHG WKDW
      WKH SUDFWLFH RI IDLOLQJ WR GLVFORVH WKHVH IDFWV WR D ERUURZHU LQ WKH PRUWJDJH DJUHHPHQW SULRU WR H[HFXWLQJ WKH
      DJUHHPHQW YRLGV WKH VSHFLILF SHUIRUPDQFH DVSHFWV RI WKH +(/2&$' EHFDXVH LW YLRODWHV 5(63$  86& 
      DQG 5HJXODWLRQ = DW  &)5  E  F  RI WKH 7UXWK LQ /HQGLQJ $FW WR ZLW

          E 7KH FUHGLWRU VKDOO PDNH GLVFORVXUH EHIRUH FRQVXPPDWLRQ RI WUDQVDFWLRQ
          F  %DVLV RI GLVFORVXUHV DQG XVHV RI HVWLPDWHV 7KH GLVFORVXUHV VKDOO UHIOHFW WKH WHUPV RI WKH
         OHJDO REOLJDWLRQV EHWZHHQ WKH SDUWLHV                   (PS DGGHG EROG PLQH

    , KDYH UHFHQWO\ EHHQ LQIRUPHG WR P\ VKRFN WKDW &LWLEDQN DSSDUHQWO\ DFFHSWHG IRU GHSRVLW P\ +(/2&$' DQG
      HQGRUVHG VDLG +(/2&$' DV D FUHGLW WR &LWLEDQN 1$ EDQN¶V DVVHWV ZLWKRXW UHFRXUVH DQG ZLWKRXW DQ\ ILQDQFLDO ULVN RI
      WKHLU DVVHWV LQ WKH SURFHVV RI IXQGLQJ WKH VXEMHFW +(/2&$' $FFRXQW  WKDW \RX KDYH VZRUQ XQGHU
      RDWK ZDV GXH DQG RZLQJ DV RSSRVHG WR GHSRVLWLQJ VDLG QRWH LQWR $FFRXQW  DV VHFXULW\ FROODWHUDO
      IRU VDIHNHHSLQJ SXUSRVHV ,V WKLV WUXH" ,I VR SOHDVH LGHQWLI\ WKH DFFRXQW QXPEHU RI WKH DFFRXQW IURP ZKLFK WKH
      IXQGV RULJLQDWHG WR IXQG ORDQ $FFRXQW  DQG WKH QDPH RI WKH GHSRVLWRU ZKR H[HFXWHG WKH FKHFN
      WKDW SURYLGHG WKH PRQH\ WKDW IXQGHG $FFRXQW  $IWHU DOO WKDW LV WKH OHDVW WKDW \RX FDQ GR JLYHQ WKH
      IDFW RI ZKDW \RX¶YH DFNQRZOHGJHG XQGHU RDWK LQ \RXU  32& DV KDV EHHQ SRLQWHG RXW LQ SDUDJUDSK  DERYH

   3OHDVH EH IXUWKHU DZDUH WKDW LI P\ +(/2&$' ZDV DOWHUHG E\ WUHDWLQJ LW DV D GUDIW ZLWKRXW P\ SULRU QRWLFH DQG
      FRQVHQW GXH WR &LWLEDQN¶V SUHPHGLWDWHG IDLOXUH WR PDNH IXOO GLVFORVXUH RI WKH VDPH DV UHTXLUHG E\  &)5 
       F  LV LPPRUDO DQG LOOHJDO )XUWKHU DFFRUGLQJ WR &8&&   WKH REOLJDWLRQ WR SD\ WKH PRQWKO\ QRWH LV
      GLVFKDUJHG E\ RSHUDWLRQ RI ODZ SXUVXDQW WR WKH 5XOH RI 0DWHULDO $OWHUDWLRQ 6HH &8&&   SURYLGHV

          D $OWHUDWLRQ PHDQV  DQ XQDXWKRUL]HG FKDQJH LQ DQ LQVWUXPHQW WKDW SXUSRUWV WR PRGLI\ LQ DQ\ UHVSHFW
         WKH REOLJDWLRQ RI D SDUW\ RU  DQ XQDXWKRUL]HG DGGLWLRQ RI ZRUGV RU QXPEHUV RU RWKHU FKDQJH WR DQ
         LQFRPSOHWH LQVWUXPHQW UHODWLQJ WR WKH REOLJDWLRQ RI D SDUW\
          E ([FHSW DV SURYLGHG LQ VXEGLYLVLRQ F  DQ DOWHUDWLRQ IUDXGXOHQWO\ PDGH GLVFKDUJHV D SDUW\ ZKRVH
         REOLJDWLRQ LV DIIHFWHG E\ WKH DOWHUDWLRQ XQOHVV WKDW SDUW\ DVVHQWV RU LV SUHFOXGHG IURP DVVHUWLQJ WKH
         DOWHUDWLRQ                            (PS DGGHG EROG PLQH

      6HH DOVR &LYLO &RGH   ([WLQFWLRQ E\ XQDXWKRUL]HG DOWHUDWLRQ

         7KH LQWHQWLRQDO GHVWUXFWLRQ FDQFHOODWLRQ RU PDWHULDO DOWHUDWLRQ RI D ZULWWHQ FRQWUDFW E\ D SDUW\ HQWLWOHG
         WR DQ\ EHQHILW XQGHU LW RU ZLWK KLV FRQVHQW H[WLQJXLVKHV DOO WKH H[HFXWRU\ REOLJDWLRQV RI WKH FRQWUDFW
         LQ KLV IDYRU DJDLQVW SDUWLHV ZKR GR QRW FRQVHQW WR WKH DFW (PS DGGHG EROG PLQH

                                                             3DJH  RI 

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   *LYHQ WKH FRPSOH[ QDWXUH RI WKH WHUPV DQG FRQGLWLRQV RI VDLG +(/2&$' DQG GHHG RI WUXVW FRQWUDFW , KDG QR SULRU
      XQGHUVWDQGLQJ RI WKH ³3D\ WR WKH 2UGHU RI :LWKRXW 5HFRXUVH RQ XV &LWLEDQN 1$ VXFFHVVRU E\ PHUJHU WR :HVW
      1$ IRUPHUO\ NQRZQ DV &LWLEDQN :HVW  )6%´ FRQWDLQHG ZLWKLQ WKH IRXU FRUQHUV RI P\ +(/2&$' HVSHFLDOO\
      VLQFH WKDW SKUDVH LV QRW FRQWDLQHG RQ 'HEWRU¶V FRS\ RI WKH +(/2&$' DQG IXUWKHU WKDW VWDPS DQG VLJQDWXUH
      ZHUH H[HFXWHG DIWHU 'HEWRU¶V SRRU GHDG KXVEDQG DQG 'HEWRU H[HFXWHG WKH VDPH RQ $XJXVW   KRZ
      XQHWKLFDO )XUWKHU &LWLEDQN 1$ IDLOHG WR IXOO\ GLVFORVH KRZ WKH +(/2&$' ZRXOG EH WUHDWHG *LYHQ WKH ZLOOIXO IDLOXUH
      RI IXOO GLVFORVXUH E\ &LWLEDQN 1$ KDYLQJ RFFXUUHG WKLV YRLGV WKH FRQWUDFW XQGHU WKH XQFRQVFLRQDEOH HOHPHQW RI
      IDLOXUH WR PDNH IXOO GLVFORVXUH 3OHDVH EH DGYLVHG WKDW WKLV IDLOXUH FRQVWLWXWHV D YLRODWLRQ RI VDLG GLVFORVXUH ODZV
      )XUWKHU DV VWDWHG KHUHLQ WKDW LI WKH QRWH KDG LQ IDFW EHHQ DOWHUHG DIWHU 'HEWRU¶V H[HFXWLRQ RI VDLG +(/2&$' WKHQ WKH
      5XOH RI 0DWHULDO $OWHUDWLRQ ZRXOG DSSO\ DQG 'HEWRU¶V REOLJDWLRQV RI VSHFLILF SHUIRUPDQFH RI PRQWKO\ SD\PHQWV
      FRQWDLQHG LQ WKH SURPLVVRU\ QRWH ZHUH GLVFKDUJHG RQ WKH GD\ &LWLEDQN 1$ 93 RQH +DUULVRQ /XYDO H[HFXWHG WKH
      DOWHUHG +(/2&$' E\ RSHUDWLRQ RI ODZ 6HH &&   DQG &8&&   $V VXFK WKH SURGXFWLRQ E\ \RX RI WKH
      RULJLQDO XQDOWHUHG ZHW LQN VLJQHG E\ 'HEWRU¶V +(/2&$' DORQJ ZLWK WKH ORDQ SDSHUV GHVFULEHG DERYH LV UHTXHVWHG
      WKDW 'HEWRU PD\ EH DEOH WR YHULI\ LQ ZKLFK IRUP 'HEWRU¶V RULJLQDO +(/2&$' ZDV WUHDWHG

   ,Q OLJKW RI WKH IRUHJRLQJ WKLV LV D IRUPDO GHPDQG IRU IXOO GLVFORVXUH DQG YDOLGDWLRQ PDGH SXUVXDQW WR WKH )DLU 'HEW
      &ROOHFWLRQ 3UDFWLFHV $FW WKH 7UXWK LQ /HQGLQJ $FW 5HJXODWLRQ = 5(63$   86&   GLVFORVXUH PDQGDWH
      3OHDVH SURGXFH ZLWKLQ WKUHH  GD\V FHUWLILHG FRSLHV RI WKH DERYH GHVFULEHG GRFXPHQWV H[HFXWHG E\ 'HEWRU RQ
      $XJXVW WK $'  DQG WKH FHUWLILHG FRSLHV RI WKH RWKHU GRFXPHQWV DVVRFLDWHG ZLWK $FFRXQW 
      RXWOLQHG LQ SDUDJUDSK  KHUHLQ DORQJ ZLWK WKH ORFDO SK\VLFDO DGGUHVV RI WKH SHUVRQ ZKR KDV DFWXDO SK\VLFDO FXVWRG\
      RI P\ SURPLVVRU\ QRWH IRU LQVSHFWLRQ DQG FRS\ SXUSRVHV DUH SURYLGHG XQGHU +20( 0257*$*( ',6&/2685( RI
      %&)3 DV SURYLGHG LQ 7LWOH  86&  HW VHT 7LWOH  86&   DQG RWKHU DSSOLFDEOH IHGHUDO PRUWJDJH
      GLVFORVXUH ODZV ,I QR UHVSRQVH LV UHFHLYHG ZLWKLQ WKUHH  GD\V D FRS\ RI WKLV LQVWUXPHQW ZLOO EH VHUYHG XSRQ WKH
      86%& 1'& WR LQ D )5&3 5XOH  D E DQGRU %DQNUXSWF\ VLPLODU UXOH WR FKDOOHQJH &LWLEDQN 1$¶V 6WDQGLQJ WR
      SURFHHG LQ DQ\ PDWWHU SHUWDLQLQJ WR %DQNUXSWF\ &DVH 1R í '0 

   $JDLQ RQH RI \RX LV RSHQO\ O\LQJ EHIRUH WKH FRXUW SHUMXU\ DQG FDQQRW PHHW WKH VWDQGDUG RI ³KDUPOHVV HUURU´ DV LW
      ZHUH DQG WKLV 127,&( LQWHQGV WR EULQJ WKLV PDWWHU WR \RXU DWWHQWLRQ SULRU WR WKH QHFHVVLW\ RI KDYLQJ WR QRWLFH WKH
      FRXUW DQG RWKHU DXWKRULWLHV ,W LV P\ KRSH E\ RXU PXWXDO DJUHHPHQW WKDW D FRQWHVW ULVLQJ IURP WKLV PLVUHSUHVHQWDWLRQ
      ZLOO EHFRPH XQQHFHVVDU\ $JDLQ WKH ZDUQLQJ LQ UHG LQ SDUDJUDSK  DERYH LV GRQH IRU \RXU EHQHILW

   ,I WKH IRUHJRLQJ LV WUXH WKHQ DOO RI \RXU H[KLELWV VZRUQ VWDWHPHQW SUHVHQWHG WR WKH FRXUWV ERWK VWDWH DQG IHGHUDO DUH
      VXEMHFW WR WKH SHQDOW\ RI IDOVH DIILGDYLWV RI &&3  )5&3 5XOH  F  5XOH  K DV RQH ZKR LV OHJDOO\ WUDLQHG LV
      UHTXLUHG WR NQRZ EHIRUHKDQG \RX DUH ZLWKRXW H[FXVH )XUWKHU WKH GXW\ RI DQ DWWRUQH\ LV RXWOLQHG LQ %XVLQHVV
      3URIHVVLRQ &RGH  WR ZLW

          D 7R VXSSRUW WKH &RQVWLWXWLRQ DQG ODZV RI WKH 8QLWHG 6WDWHV DQG RI WKLV VWDWH
          E 7R PDLQWDLQ WKH UHVSHFW GXH WR WKH FRXUWV RI MXVWLFH DQG MXGLFLDO RIILFHUV
          F 7R FRXQVHO RU PDLQWDLQ WKRVH DFWLRQV SURFHHGLQJV RU GHIHQVHV RQO\ DV DSSHDU WR KLP RU KHU OHJDO RU
         MXVW H[FHSW WKH GHIHQVH RI D SHUVRQ FKDUJHG ZLWK D SXEOLF RIIHQVH
          G 7R HPSOR\ IRU WKH SXUSRVH RI PDLQWDLQLQJ WKH FDXVHV FRQILGHG WR KLP RU KHU WKRVH PHDQV RQO\ DV DUH
         FRQVLVWHQW ZLWK WUXWK DQG QHYHU WR VHHN WR PLVOHDG WKH MXGJH RU DQ\ MXGLFLDO RIILFHU E\ DQ DUWLILFH RU IDOVH
         VWDWHPHQW RI IDFW RU ODZ                (PSKDVLV DGGHG EROG PLQH

      , EHOLHYH , FDQ PDNH WKH FDVH WKDW \RX DQG \RXU FRPSDQ\ KDYH YLRODWHG DOO RI WKH DERYH GXWLHV DV DWWRUQH\V DW ODZ

   7KH SUREOHP LV WKDW \RXU SOHDGLQJV ILOHG RYHU \RXU VLJQDWXUH DV DWWRUQH\ RI UHFRUG PDNH DOOHJDWLRQV ZKLFK DUH
      XQVXEVWDQWLDWHG DQG DSSDUHQWO\ IDOVH IUDXGXOHQW DQG ILFWLWLRXV DQG WKXV FRQVWLWXWH D PDWHULDO PLVUHSUHVHQWDWLRQ
      EHIRUH WKH FRXUW $OO RI \RXU VXSSRUWLQJ GRFXPHQWV LGHQWLILHG DV ([KLELWV WKDW ZHUH GXO\ UHFRUGHG LQ WKH 6RQRPD
      &RXQW\ 5HFRUGHU¶V RIILFH IXUWKHU FRQWDLQV IDOVH DQG PLVOHDGLQJ VWDWHPHQWV ZLWKLQ WKHLU IRXU FRUQHUV WKDW \RX NQHZ RU
      VKRXOG KDYH NQRZQ ZHUH IDOVH DV \RXU GXW\ XQGHU WKH PDQGDWH RI &&3  )5&3 5XOH  F  5XOH  K 
      &OHDUO\ WKHQ 3HQDO &RGH     D  DQG  DUH DSSDUHQW IHORQ\ YLRODWLRQV FRPPLWWHG E\ \RXU FOLHQW XQOHVV
      \RX FDQ SURYLGH WKH GLVSRVLWLYH HYLGHQFH RI WKH VSHFLILF GRFXPHQWV GHPDQGHG LQ SDUDJUDSKV   DQG  DERYH

   0V .KLO ZLWKRXW HYLGHQFH RI WKH H[LVWHQFH RI DQ DFWXDO GHEW WKHUH LV QR WDQJLEOH HYLGHQFH RI \RXU FOLHQW¶V FODLP RI
      ULJKW RI RZQHUVKLS RI WKH VXEMHFW SURSHUW\ ILOHG RI UHFRUG $OO ZH KDYH LV \RXU XQVXEVWDQWLDWHG ZULWLQJV ZKLFK DSSHDU
      WR EH IUDXGXOHQW



                                                         3DJH  RI 

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   &LWLEDQN 1$¶V HQWU\ LQWR WKH -XULVGLFWLRQ RI WKH FRXUW KDV EHHQ LPSURSHUO\ LQYRNHG RQ WKH IDOVH IUDXGXOHQW DQG
      ILFWLWLRXV DOOHJDWLRQV VHW RXW LQ \RXU  32& DQG WKH VDPH ZKROO\ IDLOV WR VWDWH D FODLP XSRQ ZKLFK UHOLHI PD\
      SURSHUO\ EH JUDQWHG <RX NQHZ RU VKRXOG KDYH NQRZQ WKH IRUHJRLQJ SULRU WR ILOLQJ VDLG  32& LQ %DQNUXSWF\ &DVH
      1R í '0  )XUWKHU \RX NQRZ WKH ³HYLGHQFH´ WKDW \RX¶YH VXEPLWWHG WR WKH FRXUW LV QRW WUXH DQG VXFK
      HYLGHQFH LV ERWK IDOVH DQG PLVOHDGLQJ DQG FRQVWLWXWHV D IUDXG XSRQ WKH FRXUW , PDLQWDLQ VDLG  32& LV D IUDXGXOHQW
      GRFXPHQW XQUHJLVWHUHG VHFXULW\ DQG IXUWKHU LV D FRXQWHUIHLW VHFXULW\ ILOHG LQ D SXEOLF UHSRVLWRU\ D IHORQ\ 3&  D 

   , PDLQWDLQ WKDW WKH VROH LQWHQW RI \RXU DFWLRQV ZHUH GRQH IRU SXUSRVH RI IUDXG GHFHLW WKHIW RI UHDO SURSHUW\ ULJKWV
      XQODZIXO FRQYHUVLRQ RI UHDO SURSHUW\ GRPHVWLF WHUURULVP VLPXODWLRQ RI MXGLFLDO SURFHVV IRU SXUSRVH RI XQMXVW
      HQULFKPHQW H[WRUWLRQ LQ FRQMXQFWLRQ ZLWK ZLUH IUDXG PDLO IUDXG LQ DQ DUWLILFH WR GHSULYH 'HEWRU RI WKH LQWDQJLEOH ULJKW WR
      KRQHVW VHUYLFHV PDQGDWHG XQGHU 7LWOH  86&     DQG   DPRQJ RWKHU KLJK FULPHV DQG
      PLVGHPHDQRUV &OHDUO\ WKH IDFWV LQYROYLQJ WKH KLVWRU\ RI WKLV PDWWHU LI WKH\ KDG EHHQ SURSHUO\ YHWWHG ZLWK GXH
      GLOLJHQFH E\ XQELDVHG MXULVW DV UHTXLUHG E\ WKH UXOHV ZRXOG KDYH PHUHO\ FRUURERUDWHG WKH IDFLDO DEVHQFH RI DQ\
      OHJLWLPDWH MXVWLFLDEOH FODLP E\ &LWLEDQN 1$ DV D PDWWHU RI ODZ

   0V .KLO \RX VKRXOG EH DZDUH 'HEWRU KDV DQG IXUWKHU LV XQGHUJRLQJ DQJVW WUDXPD DQG JUHDW PHQWDO GXUHVV DV UHVXOW
      RI WKLV PDWWHU 'HEWRU¶V UHSXWDWLRQ KDV EHHQ DQG FRQWLQXHV WR EH LQMXUHG E\ WKH FKDUDFWHU RI WKLV  32& DQG \RXU
      DFWLRQV ,WV KDYLQJ EHHQ ILOHG DQG LWV FRQWLQXDWLRQ LV DFWLRQDEOH DQG LQ GXH FRXUVH ZLOO UHVXOW LQ 'HEWRU KDYLQJ WR VHHN
      UHPHGLHV DIIRUGHG E\ ODZ ,Q OLJKW RI WKH IRUHJRLQJ IDFW WKDW QHLWKHU WKH FRXUW QRU , ZHUH HYHU SURYLGHG DFWXDO HYLGHQFH
      RI GHEW WR HVWDEOLVK WKH ODZIXO VWDQGLQJ RI \RXU FOLHQW LV D ZLOOIXO YLRODWLRQ RI &&3  % 3 &RGH  G 
       D  6LPSO\ VWDWHG WKLV  32& LV QRW ULJKW DQG 'HEWRU ZLOO VHHN D FRPSOHWH FRUUHFWLRQ RI WKLV ZURQJ
      5HPHPEHU )UDXG DQG -XVWLFH 1HYHU 'ZHOO 7RJHWKHU )XUWKHU WKH ODZ OHDYHV ZURQJGRHUV ZKHUH LW ILQGV
      WKHP

   $FFRUGLQJO\ , VXJJHVW WKDW \RX FDUHIXOO\ FRQVLGHU WKH IRUHJRLQJ DQG WKDW \RX H[HUFLVH WKLV RSSRUWXQLW\ WR PDNH DQ
      LQIRUPHG FKRLFH DV WR ZKHWKHU WR ZLWKGUDZ RU RWKHUZLVH DEDWH WKH IDOVH IUDXGXOHQW DQG ILFWLWLRXV DOOHJDWLRQV DV DUH
      FRQWDLQHG LQ WKH XQGHUO\LQJ  32& IXUWKHU LPPHGLDWHO\ SULRU WR WKH PHHWLQJ RI FUHGLWRUV KHDULQJ WR DOORZ \RXUVHOI
      DQG \RXU FRPSDQ\ WR SURSHUO\ UHYLHZ WKH FRQWHQWV RI WKLV LQVWUXPHQW DQG IXUWKHU SURYLGH 'HEWRU DOO GRFXPHQWV
      GHPDQGHG LQ SDUDJUDSKV   DQG  DERYH DQG XSRQ UHYLHZ RI VDPH \RX DGPLW WR WKH WUXWK RI WKH VDPH WR ILQDOO\
      FRPSHQVDWH 'HEWRU IRU DOO WKH GDPDJHV VXIIHUHG IRU KDYLQJ WR GHDO ZLWK DQG IXUWKHU DGGUHVV WKLV XQODZIXO KDUDVVPHQW
      E\ IUDXG LQIDFWXP

   $V \RX DUH DZDUH \RX KDYH DQ DIILUPDWLYH GXW\ XQGHU &&3  )5&3 5XOH  F  5XOH  K WR DVFHUWDLQ WKH
      WUXWKIXOQHVV RI \RXU FOLHQW¶V VWDQGLQJ DV VWDWHG LQ \RXU SOHDGLQJV YLD D GLOLJHQW LQTXLU\ LQWR WKH IDFWV WKH HYLGHQFH DQG
      WKH ODZ DSSOLFDEOH LQ WKLV FDVH WKDW DUH ³UHDVRQDEOH XQGHU WKH FLUFXPVWDQFHV´ ,W DSSHDUV WKDW \RX KDYH IDLOHG WR
      PHHW WKDW FULWHULD RI WKH IRXQGDWLRQDO WKUHVKROG PDQGDWHG XQGHU &&3  VXSUD 7KURXJK \RX DV FRXQVHO \RXU
      FOLHQW KDV SURFHHGHG RQ DQ XQODZIXO H[WRUWLRQ E\ ZD\ RI XQMXVW HQULFKPHQW WKURXJK IUDXG LQ IDFWXP GHFHLW IDLOXUH RI
      IXOO GLVFORVXUH RI FRQWUDFW WHUPV RI WKH VXEMHFW SURSHUW\ ZLWKRXW D MXVW DQG SURSHU LQWHUHVW LQ WKLV FDVH <RX HLWKHU NQHZ
      RU \RX VKRXOG KDYH NQRZQ WKHVH FLUFXPVWDQFHV IURP DQ DIILUPDWLYH LQTXLU\ SULRU WR SODFLQJ WKHVH PLVUHSUHVHQWHG
      IDFWV DQG SOHDGLQJV EHIRUH WKH FRXUW $V VWDWHG , KRSH WKDW WKLV PDWWHU FDQ EH H[SODLQHG DV \RX KDYLQJ EHHQ PLVOHG
      E\ \RXU FOLHQW DQG WKDW WKHVH DUH QRW \RXU DIILUPDWLYH DFWV RI RYHUW PLVUHSUHVHQWDWLRQ 8QIRUWXQDWHO\ XQGHU WKHVH
      FLUFXPVWDQFHV WKH\ UHPDLQ DV \RXU DIILUPDWLYH HUURUV DQG RPLVVLRQV 8QIRUWXQDWHO\ WKHVH FLUFXPVWDQFHV EULQJ LQWR
      TXHVWLRQ \RXU RZQ VWDQGLQJ DV FRXQVHO LQ WKLV FDVH EHIRUH WKH 6WDWH %DU RI &DOLIRUQLD DQG DV DQ RIILFHU RI WKH FRXUW ,
      IHDU WKDW \RX KDYH EHHQ PLVOHG E\ WKH SUHYDULFDWLRQV DQG PHQGDFLW\ RI \RXU FOLHQW DQGRU \RXU RZQ ODFN RI GXH
      GLOLJHQFH DV UHTXLUHG E\ WKH UXOHV RI FRXUW

    3UXGHQFH GLFWDWHV WKDW \RX UHFRQVLGHU \RXU SRVLWLRQ LQ WKLV PDWWHU SULRU WR DQ\ IXUWKHU DFWLRQV RQ 'HEWRU¶V KRPH ,
      KHUH H[WHQG WKLV RSSRUWXQLW\ IRU \RX WR GR VR E\ ZLWKGUDZLQJ WKH RIIHQGLQJ SOHDGLQJV LQ JHQHUDO DQG FRPSHQVDWH
      GHEWRU E\ LPPHGLDWH UHFRQYH\DQFH RI VXEMHFW SURSHUW\ DQG UHWXUQ RI DOO PRQH\V FROOHFWHG IURP 'HEWRU E\ \RXU FOLHQW
      SULRU WR WKH  PHHWLQJ RI FUHGLWRUV¶ KHDULQJ LQ VXFK PDQQHU DV WR DEDWH WKH RQJRLQJ LQMXULHV WR 'HEWRU DQG 'HEWRU¶V
      IDPLO\ DQG WR WKH GLJQLW\ RI WKH FRXUW

8QOHVV WKLV FRQIOLFW LV LPPHGLDWHO\ UHVROYHG LW LV P\ GXW\ WR EULQJ WKLV PDWWHU WR WKH SXEOLF DWWHQWLRQ RI ERWK WKH FRXUW DQG
EDU SXUVXDQW WR WKH SURFHGXUHV VHW RXW LQ &DOLIRUQLD ODZ DQG WR IXUWKHU VHHN DQG HPSOR\ DOO RWKHU UHPHGLHV DW ODZ

0D\ , KHDU IURP \RX RQ WKLV PDWWHU EHIRUH WKH HQG RI  0D\  EXVLQHVV GD\

,W KDWK EHHQ VDLG DQG VR LW LV GRQH



                                                           3DJH  RI 

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                                EXHIBIT 2




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                             EXHIBIT 2




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             Case 5:23-cv-04521-PCP Document      on 10/11/23
                                             8 Filed Docket   Page 25 of 26
                                              September 05, 2023
                                              EDWARD J. EMMONS, CLERK
                                              U.S. BANKRUPTCY COURT
                                              NORTHERN DISTRICT OF CALIFORNIA


 1                                                Signed and Filed: September 5, 2023

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                                                  ________________________________________
 5                                                DENNIS MONTALI
                                                  U.S. Bankruptcy Judge
 6
 7                        UNITED STATES BANKRUPTCY COURT
 8                       NORTHERN DISTRICT OF CALIFORNIA
 9
     In re                                   ) Bankruptcy Case
10                                           ) No. 23-10092-DM
     ORDELL ELIZABETH MOON,                  )
11                                           ) Chapter 13
12                     Debtor.               )
                                             )
13                                           )
                                             )
14                                           )
15                                           )

16                     ORDER DENYING MOTION TO IMPOSE STAY

17           The court has read and considered the Motion for Order
18   Imposing a Stay or Continuing the Automatic Stay as the Court
19   Deems Appropriate (“Motion”) (Dkt. 87) filed by Debtor through
20   her Authorized Representative, Don Shannon.                   This case having
21   been dismissed on August 9, 2023, therefore, the court denies
22   the Motion as the court has no authority to act on it.
23                               *** END OF ORDER ***
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                                  COURT SERVICE LIST
 1
 2   Ordell Elizabeth Moon
     1905 Bristol St.
 3   Petaluma, CA 94954

 4   Donald Shannon
     420 Lakeville St.
 5
     Petaluma, CA 94952
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